                   Case 2:12-cr-00087-WKW-CSC Document 721 Filed 08/06/13 Page 1 of 6

AO 24513      (Rev. 09i1 1) Judgment in Criminal Case
               Sheet 1




                                             UNITED STATES DISTRICT COURT
                                                        MIDDLE DISTRICT OF ALABAMA

              UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                         V.                                              )
                   LISA MICHELE JACKSON                                          Case Number: 2:12cr087-03-WKW

                                                                                 USM Nurnbcr: 14023-002

                                                                         )        Susan Graham James
                                                                                 i)iem1anis AI1oriiy
THE DEFENDANT:
411caded guilty 10 count(s)            1 s ofthe Superseding Indictment on 01/30/2013
E pleaded nolo conicridere 10 count(S)
                                                             -
  which was accepted by the court.
El was found guilty on count(s)
   after a plea oInoL guilty.            -

Thc defendant is adjudicalcd guilty of these offenses:

Title & Section                   Nature of Offense                                                            Offense Ended             Count

 21:846                            Conspiracy to Distribute Cocaine Hydrochloride                               05/31/2012                is

                                             and Cocaine Base




LJ See additional count(s) ou page 2

      The del'endant is sentenced as provided in pages 2 throu g h 6 of this jud g ment, The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
U The defendant has been found not guilty on coon(s)
   'Coun1(s)1, 3s, 1 4s-1 6s                              E is     'are dismissed on the uio13ori o (he United States.

         It it ordered ihat the defendant trust notily the UriitedStates atorney for this district within 30 days ofany change of ilarne, residence,
or mailing address until all fines, restitution, costs, and special assessments iniposed by this judgment are fuUy paid. Ifordered 10 pay restitution,
the defendant must notify the court and United States attorney of material. changes in economic CircuLIlstaI1ces.

                                                                        08/05/2013
                                                                        lJaic oI iipOi,i loli 01 JUdSlflCriI
                                                                                         1




                                                                        Signature o1Judg


                                                                        W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                        Name (If Jide                                   !i   le l   ge




                                                                        Dal^—,-
                     Case 2:12-cr-00087-WKW-CSC Document 721 Filed 08/06/13 Page 2 of 6

AO 24513        (Rev. 09/11) Judgment m a Criminal Case
vi              Sheet 2 - 1mprisonnien

                                                                                                                     Judgment Page: 2ot'6
     DEFENDANT: LISA MICHELE JACKSON
     CASE NUMBER: 2:12cr087-03-WKW


                                                                 IMPRISONMENT


              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     toLal term of:

     63 Months



         Wf The court makes the following recommendations to the Bureau ot'Prisons:

     The Court recommends that defendant be designated to a facility where intensive residential drug treatment is available.
     The Court recommends that defendant be designated to FPC Marianna.



         E The defendant is remanded to the custody ofthe United States Marshal.

         El The defendant shall surrender 10 the United States Marshal for this district:

             E at _____- ----------________                am.        LI p.m.    on

                  as notified by the United Slates Marsha].

             The defendant shall surrender for service of sentence at the institution designated by the Bureau oI'Prisons:

                  before 2:00 PM on                       9/17/2013

             El as notified by the United States Marshal,

             El as notified by the Probation or Pretrial Services Office,



                                                                        RETURN

     1 have executed this judgment as follows:




             Delendant delivered on                                                          to

     a                                                     with a certified copy ofthisjudgrnent.



                                                                                                       UNITED STATES MARSHAL


                                                                                By
                                                                                                    DEPUTY UNITED STATES MARSHAL
                      Case 2:12-cr-00087-WKW-CSC Document 721 Filed 08/06/13 Page 3 of 6

AO 245f3         (Rev. 09/11) Judgment in a Criminal Case
                 Sheet 3 - Supervised Release

                                                                                                                             Judgment Page: 3 of 6
 DEFENDANT: LISA MICHELE JACKSON
 CASE NUMBER: 2:12cr087-03-WKW
                                                            SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term oi
 5 Years


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours oI' rcicase from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, slate or local crime.
 The defendant shall not unlawfull y possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 fl The above drug testing condition    is suspended, based on the court's determination that the defendant poses a low risk of
           future substance abuse.
                            (Check, if app/,cabTh.)

           The defendant         not possess a trcarni. ammunition, destructive device, or any other dangerous weapon. Check, i(applicable)
           The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplwabe)

           The defendant shall compl y with the requirements of the Sex Offender Registration and Notification Act (42 U.SC. 16901, et seq.)
 I         as directed by the prohation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides.
           works, is a student, or was convicted of qualifying offense. Check, [applicabk)

 D The defendant shall participate in an approved program for domestic violence. (Check, rfapp/wable.)
                                        or
         Jfthisjudgment
          of            imposes a fine restitution, it is condition oI'supervised release that the defendant pay in accordance with the
 Schedule Payments sheet of this judgment.
           The defendant must comply with thc standard conditions that har e heen adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall nol leave the .judicial district without the permission of the court or probation officer;
      2)    the defendant shall report to the probation off -Leer in a manner and frequency directed by the court or probation officer;
      3)    the del7endanishall answer truthfully all inquiries by the probation officer and follow the instructions ol'thc probation officer;
      4)    the defendant shall support his or her dependents and meet other family responsibilities;
      5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            accept-able reasons;
      6)    thc defendant shall notify the probation officer at least ten days prior 10 any change in residence or employment;
      7)    the defendant shall retrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            conlrolled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)    the de1ndant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
            felony. unless granted permission to do so hy the probation officer;
     10)    the defendant shall permit a probation officer to visit himor her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
     11)    the defendant shall notify the probation officer within seventy-two hours ofheingarrested or questioned by a law enforcement officer;
     12)    the dcfendant shall not enter into any agreement 10 act as an informcr or a special agent ota law enforccrnnt agency without the
            permission of the court: and

     13)    as directed by the probation officer, the defendant shall not third parties of risks that ma y be occasioned by the defendant's criminal
            record or personal history or characteristics and shall permit th c probation officer 10 mak6 such notifications and 10 confirm the
            defendant s compliance with such notification requirement.
                  Case 2:12-cr-00087-WKW-CSC Document 721 Filed 08/06/13 Page 4 of 6

AO 245B        (Rev. 09/11) Judgment in a Criminal Case
V1             Shct 3C - Supervised Release

                                                                                                            Judgment Page: 4 of 6
 DEFENDANT: USA MICHELE JACKSON
 CASE NUMBER: 2:12cr087-03WKW

                                             SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall submit to a search of her person, residence, office or vehicle pursuant to the search policy of this court.
                     Case 2:12-cr-00087-WKW-CSC Document 721 Filed 08/06/13 Page 5 of 6

AO 245B          (Rev 09/11) Judgmern in a Criminal Case

V1               Sheet 5 - Criminal Monetary Penalties


                                                                                                                            Judgment Page: 5 of 6
     DEFENDANT: LISA MICHELE JACKSON
     CASE NUMBER: 2:12cr087-03-WKW
                                                   CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the sehedule of payments on Sheet 6.


                         Assessment                                              Fine                            Restitution
     TOTALS            $ 100.00                                              S                                 $ $0.oO



     LJ The dctcrrninaton otres1iution is deferred until                            An Amendedliidgmeni in a Criminal Case (A0245C) will be entered
        after such determination.

     El The defendant must make restitution (including community restitution) 10 the foliowing payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioncd payment, unless specified otherwise in
         the priority order or percentage payment column helow. However, pursuant to 18 tiS.C. 3664(1), all nonfederal victims must be paid
         belhre the United States is paid.

     Name of Payee                                                       Total Loss*                Restitution Ordered Prioritv or Percentage




 TOTALS                                                                                     $0.00                   $0.00


 El       Restitution amount ordered pursuant 10 plea agreement

 D The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or [Inc is paid in full before the
   fifteenth day after the date of the judgment, pursuant to 18 U.S.C, § 3612(f, All of the pa y ment options on Sheet 6 may be subject
   to penalties for delinquency and default, pursuant 10 18 US.C. § 3612(g).

          The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          LI the interest requirement is waived for the            El [Inc       E restitution.

         El the interest requirement for the             [1 [Inc     [1 restitution is modified as foliows:



 * Findings for the total arruunt oflosses aic required under Cha1ers 109A, 110, IIOA, and I 13A ofTitic 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                 Case 2:12-cr-00087-WKW-CSC Document 721 Filed 08/06/13 Page 6 of 6

AO 245B      (Rev 09/11) Judgment in a Criminal Case
             Sheet 6   Schedule oI Pavments

                              Judgmcnt Page: 6 of 6
DEFENDANT: USA MICHELE JACKSON
CASE NUMBER: 2:12cr087-03-WKW


                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lurnp sum paymentof$ 100.00                        due immediately, balance due

           LI not later than                                       or
           LI in accordance fl                          D,         l, or fl F below;

 13        Payment 10 begin immediately (may be eomhined with             El C.           D, or        F below); Or

 C    fl Payment in equal                      (e.g., weekly, monihly, quarterly) installments of S                            over a period of
          --     -   (e g., months or years), to commence                       (e.g., 30 or 60 days) alter the date of this judgment;  or

 D         Payment in equal              -         (e.g., week/y, monthly, quarter/y) i nstallments of           __________-. over a period of
                         (e.g., months or years), 10 comnienee                    - (e g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    Fj Payment during the term of superised release will cornmence within                    (e.g., 30 or 60 days) after release from
           imprisonrnent. The court will set the payment plan based on an assessment of the defendant's ability 10 pay at that lime; or

 F         Special instructions regarding the payment oferirriinal monetary penalties:
            Alt criminal monetary payments are 10 be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressly ordered otherwise, if this iudgmentimposes imprisonment, payment of criminal monetar y penalties is due during
 imprisonment. All crimnat monetary penalties, except ibose payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made 10 the clerk of the court.

 The delendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 LI .Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Tolal Amount, Joint and Several Amount,
      and corresponding payec, if appropriate.




LI The delendant shall pay the cost ofprosecution.

 E The defendant shall pay the following court cost(s):

LI The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the fotlowing order: (1) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal.
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
